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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:            RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Wednes day, August 16 , 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 3:36 p.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
15       OF THE CASE AS RECORDED    AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       BONNIE GREENBERG, Esquire

19       On behalf of the Defendants:

20       MICHAEL MONTEMARANO , Esquire
         ANTHONY MARTIN, Esquire
21       MARC HALL, Esquire
         TIMOTHY MITCHELL, Esquire
22       PETER WARD, Esquire
         EDWARD SUSSMAN , Esquire
23       HARRY MCKNETT , Esquire

24

25 Tracy Rae Dunlap,   RPR , CRR                       (301) 344-3912
   Official Court Reporter



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 1                             I N D E X

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23                                                          Page

24 Reporter's Certificate                                   18

25 Concordance                                              19




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 1                  (Roll call conducted by Sharon Townsend.)

 2            MS. TOWNSEND:      Let 's make sure we have everyone .

 3            Mr. Montemarano ?

 4            MR. MONTEMARANO:          Yes .

 5            MS. TOWNSEND:      Mr. Martin ?

 6            MR. MARTIN:      Here .

 7            MS. TOWNSEND:      Mr.          Hall ?

 8            MR. HALL:      Here .

 9            MS. TOWNSEND:      Mr. Mitchell ?

10            MR. MITCHELL:      Here .

11            MS. TOWNSEND:      Mr. Ward ?

12            MR. WARD:      Here .

13            MS. TOWNSEND:      Mr. Suss man ?

14            MR. SUSSMAN:      Yes, ma'am .

15            MS. TOWNSEND:      Mr. McKnett ?

16            MR. MCKNETT:      Yes .

17            MS. TOWNSEND:      Ms. Green berg ?

18            MS. GREENBERG:          Yes .

19            MS. TOWNSEND:      Ms. Johnston ?

20            MS. JOHNSTON:      Yes .

21            MS. TOWNSEND:      Judge Titus?

22            JUDGE CHASANOW :         We all need to speak up as loud

23 as we can .     We are reaching            the limit of the telephone

24 system .

25            Can everyone     hear me ?




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 1          MS. JOHNSTON:      Yes .

 2          MR. WARD:      Yes ma'am .

 3          JUDGE CHASANOW :     The court reporter      is in the

 4 courtroom    taking   this down ; is that correct , Ms. Merez ?

 5          THE CLERK:      Yes , that is correct , Judge .

 6          MR. SUSSMAN :     Judge , how many are on the phone ?

 7          JUDGE CHASANOW :     Some are on the phone , and

 8 three or four are in the courtroom .

 9          JUDGE TITUS:      Let me re mind counsel     who are in

10 the courtroom    to speak into the micro phone so I can

11 hear you .

12          JUDGE CHASANOW :     We have receive d a note from

13 the jury .    It is rather    long .   It is very clear .      I

14 have read it before      with Judge Titus,     and I will read

15 it now to all of you .

16          Question :     "We are at an impasse     regard ing

17 interpretation    of the judge 's instruction s about how to

18 assign   attributable    type and /or quantiti es of drug s to

19 each defendant    that we may find guilty        of conspiracy .

20 Specifically , we refer to Page s 85 through          87 of the

21 judge 's instruction s.

22          1. Specifically , some among us believe          that any

23 defendant    who we find to be guilty      of conspiracy     is

24 therefore    guilty   of all drug s associate d with the

25 conspiracy    in the largest    quantiti es attributed      to any




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 1 other member        of the conspiracy     or the conspiracy       as a

 2 whole .     That is, this interpretation         of the judge 's

 3 instruction        is that we are required      to find any

 4 defendant        who we find to be guilty      of conspiracy      to be

 5 therefore        equal ly responsible    for the same type s and

 6 quantiti es of drug s (e.g.,          all for one ).   For example,

 7 if we find Defendant X         guilty of conspiracy and

 8 responsible        for all three drug s at the maximum

 9 quantity , are we require d to find all other defendant s

10 who we find guilty         of conspiracy    (C ount One ) equal ly

11 culpable     as Defendant     X for the same type s and

12 quantiti es of drug s, regard less of the type of drug s

13 that Defendant s Y and Z were involve d with

14 individual ly ?

15             2.    Other s interpret     these instruction s to mean

16 that the law allow s us to find a defendant              guilty    of

17 conspiracy        but that we are required      to determine      each

18 defendant 's responsibility           for attributable    type and /or

19 quantity     of drug s based on that individual 's role in

20 the conspiracy        ( based on factor s enumerate d on Page s

21 85 -87 ).    For instance , if it was not reasonably

22 for esee able that an individual          Defendant    A was

23 knowledgeable        about the type and /or quantity       of drug s

24 that are involve d or associate d with another             member       of

25 the conspiracy , we are not required            to attribute      such a




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 1 larger   quantity      to Defendant    A.

 2            Please   clarify   which of the above two

 3 interpretation s we are to follow             in order    to attribute

 4 specific    type s and quantiti es of drug s to each

 5 defendant     we find to be guilty          of con spiracy.

 6            Sign ed , Juror s 1 through       12 ."

 7            MS. JOHNSTON:      Your Honor , could we please             get a

 8 copy of that instruction ?           It 's quite lengthy,        and I

 9 didn't   really     write it down .

10            THE COURT:     I didn't    want to do that , because           I

11 can't get cop ies to       all counsel       at the same time .        You

12 are here in the courtroom , as is , I believe,                Mr. Ward .

13            MR. WARD:     I am , Your Honor .

14            MS. JOHNSTON:      Yes , Your Honor .

15            MR. WARD:     I am the only defense          lawyer   in the

16 courtroom .

17            MS. JOHNSTON:      Quite frankly , Your Honor , Ms.

18 Green berg has been here from Baltimore               even though      her

19 work is up there .        I don't know       that we should      be

20 penalized     because    some defense       attorney s have elect ed

21 to be contact ed by telephone .

22            JUDGE CHASANOW :     I understand         it 's a long note ,

23 but I beli eve it 's readily         understandable       and -- .

24            MR. MONTEMARANO :     Your Honor ?

25            JUDGE CHASANOW :     Judge Titus,         do you want to




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 1 take over lead ing this discussion ?

 2           JUDGE TITUS:          Yeah .   I'm on the phone .    I have a

 3 similar    dis ability    of the other s that I don't have            it

 4 in front of me , but Judge Chasanow             did read it to me

 5 slow ly , and I've listened          to it twice .

 6           My inclination , subject to          hear ing from counsel

 7 for both sides , is that the second             alternative    is to a

 8 direct    interpretation        of my instruction .

 9           MS. SUSSMAN:          I agree that it 's clear .

10           MR. MARTIN:      Mr. Martin       agrees .

11           MR. MCKNETT:          I agree on behalf      of Ms. Ali .

12           MS. JOHNSTON:          Your Honor , that 's why I'm asking

13 for an opportunity        to see it , or at least        have it read

14 to us a second     or third time so that we can fully grasp

15 what is said in those two alternative s.

16           JUDGE CHASANOW :         I can read it out loud .

17           Does any defense         attorney   -- if Ms. Merez has

18 the original    in the courtroom , which is where they are

19 right now -- given that we -- I think all the defense

20 attorney s agree that it 's the second            interpretation       of

21 -- and Judge Titus has tentatively              conclude d -- is

22 there any objection        if they look along as I read this ?

23           MR. WARD:      No .

24           JUDGE CHASANOW:          Mr. Ward is there .

25           MR. WARD:      If I may .       This is Peter Ward , Your




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 1 Honor .   I certain ly opt for option        2.     It seem s to me ,

 2 based on my recollection , that that was precise ly what

 3 Judge Titus --      if Judge Titus is      on the line , it seem s

 4 to me exact ly what you said in response             to a note we

 5 got last Friday .

 6           JUDGE CHASANOW :     Let me read it aloud again .

 7           Ms. Merez is shari ng it with counsel in           the

 8 courtroom      at the same time .     Are you ready ?

 9           MS. GREENBERG:      Yes , Your Honor .

10           MR. WARD:      Yes, ma'am .

11           JUDGE CHASANOW :     Question .    We are    at an impasse

12 regard ing interpretation        of the judge 's instruction

13 about how to as sign attributable          type and /or quantiti es

14 of drug s to each defendant         that we may find guilty         of

15 conspiracy .      Specifically , we refer to Page s 85 through

16 87 of the judge 's instruction s.

17           1.    S pecifically , some among us believe        that any

18 defendant      who we find to be gu ilty of conspiracy         is

19 therefore      guilty   of all drug s associate d with the

20 conspiracy      in the largest    quantiti es attributed      to any

21 other member      of the conspiracy      or the conspiracy     as a

22 whole .   That is , this interpretation           of the judge 's

23 instruction      is that we are required      to find any

24 defendant      who we find to be guilty      of conspiracy     to be

25 therefore      equal ly responsible     for the same type s and




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 1 quantiti es of drug s (e.g ., all for one ).                 For example ,

 2 if we find defendant           X guilty    of conspiracy       and

 3 responsible        for all three drug s at the maximum

 4 quantity , are we required          to find all other defendant s

 5 who we find guilty        of conspiracy          (Count On e) equal ly

 6 culpable    as Defendant        X for the same type s and

 7 quantiti es of drug s, regard less of the type of drug s

 8 that Defendant s Y and Z were involve d with

 9 individual ly ?

10            2.    Other s interpret    these instruction s to mean

11 that the law allow s us to find a defendant                   guilty    of

12 conspiracy       but that we are required           to determine       each

13 defendant 's responsibility          for attributable          type and /or

14 quantity    of drug s based on that individual 's role in

15 the conspiracy        (based on factor s enumerate d on Page s 85

16 through    87 ).     For instance , if it was not reasonably

17 for esee able that an individual               Defendant    A was

18 knowledgeable        about the type and /or quantity             of drug s

19 that are involve d or associate d with another                   member      of

20 the conspiracy , we are not required                to attribute       such a

21 larger    quantity     to Defendant       A.

22            Please    clarify    which of the above two

23 interpretation s we are to follow                in order    to attribute

24 specific    type s and quantiti es of drug s to each

25 defendant       we find to be guilty           of conspiracy .




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 1           Sign ed , Juror s 1 through        12 ."

 2           MR. WARD:      Thank you .

 3           MR. MONTEMARANO :        Ms. Martin 's diligent        view is

 4 the second     interpretation .

 5           MR . MITCHELL:        On behalf    of Mr. Good win .         I

 6 didn't    comment    the first time around .          I agree, the

 7 second one .

 8           MR. MCKNETT :        On behalf    of Ms. Ali.     My only

 9 concern     would be to confirm       that their page reference s

10 were accurate .

11           MR. MARTIN:         I'm look ing at it now .      It is

12 accurate .

13           MR. MCKNETT :        Then Ms. Ali agrees with          the

14 second    option .

15           JUDGE TITUS:         Judge Chasanow , let 's hear what

16 the government       says .    I think we 've heard from the

17 defense .

18           MS. JOHNSTON:         This is Deborah       Johnston

19 speak ing .

20           Your Honor , my only concern          about that second

21 portion     of the note is that it does not reference                  the

22 -- it reference s certain          particular     page s.   Those page s

23 talk about reasonable          for esee ability      and drug s that a

24 defendant     particular ly held and does not include               the

25 fact that a defendant          is liable    for drug s under a




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 1 Pinkerton    theory    or in particular     an aid ing and

 2 abet ting theory      because     of those particular

 3 instruction s, if I could get to them .           I n term s of the

 4 number s under 1, 2, 3 and 4.           I t says , "the drug s that

 5 the person     actual ly themselves      distributed ;" and then

 6 2, "or drug s that they intend ed or attempt ed to

 7 distribute " and then talk s about drug s other people

 8 distributed     which were reasonably       for esee able .

 9 It does not reference           the fact that a defendant       could

10 be guilty    of the drug quantity        where they aid ed and

11 abet ted somebody      else .

12           So , if the court is going to -- in respond ing to

13 this , I would suggest          that the court reference      them

14 also to the other page s in the instruction s that

15 reference    Pinker ton and the aid ing and abet ting , and I

16 believe    the aid ing and abet ting begin s on Page 79 , and

17 the Pinker ton start s on , I believe , Page 82 -- the

18 bottom    of Page 82 .

19           I would like those instruction s reference d,

20 because    I think that the jury is emphasizi ng one

21 portion    of the court 's instruction s in term s of drug

22 quantity , when there are the other two theori es that

23 are not en compass ed in the instruction          that they 've

24 reference d.

25           MR. MARTIN:      Your Honor , I don't think         that 's




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 1 necessary , because        they're   talk ing here about

 2 for esee ability,      and I don't see how an aid ing and

 3 abet ting instruction        is going   to help them .      I think

 4 they focused      on the part of the instruction s that is

 5 relevant    to their question , and I think aid ing and

 6 abet ting of the question         and the Pinker ton rule as

 7 vetted   by the    government     is just going to confuse          them

 8 more .   I think we should        stay narrow ly focused      and we

 9 don't need to go beyond          the scope of their question s.

10            MR. MCKNETT :      Your Honor , this is Harry McKnett .

11 I think the jury very narrow ly focused            their question

12 on the conspiracy , and to instruct            them beyond    the

13 scope of their question          would be in appropriate .

14            MR. HALL:       I would agree .    The problem    I have

15 with referenci ng them to another            part of the

16 instruction s is that as they are instruct ed , they're

17 suppose d to consider        these instruction s as a whole .

18 Just because      they reference d one particular          part to

19 their question , I don't belie ve that mean s we need to

20 reference    them to a Pinker ton instruction .

21            JUDGE TITUS:       Counsel , wait a minute      before    you

22 say anything      else .

23            First of all , I think the record        should    be clear

24 that I am not present          and am on vacation    this week but

25 that Judge Chasanow         has been kind enough     to reach me on




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 1 vacation     so I can participat e in the dis position        of any

 2 note .   With regard      to this , my inclination      is to -- I

 3 would love to hear Judge Chasanow 's view as well , but

 4 my inclination     is to re mind the jury that my

 5 instruction s should       be taken as a whole and they should

 6 not take one or two instruction s but should             consider

 7 the instruction s as a whole with regard            to the specific

 8 question .

 9            The second     interpretation     is a --

10            MS. JOHNSTON:      Yes, your     Honor I didn't   hear

11 th at.

12            JUDGE TITUS:      I don't feel that by point ing them

13 to a page -- wandering         into page s that they have not

14 identifi ed that it 's going to be adequate            for the --

15            MS. JOHNSTON:      Your Honor , I didn't     hear the end

16 of what the court was going to tell them .              The phone

17 was ring ing , and there was some static .

18            JUDGE TITUS:      What I said,     Ms . Johnston, was

19 that my inclination        is to re mind the jury -- Judge

20 Chasanow     can send them back a note or bring them in the

21 courtroom , either      one , and indicate     she has confer red

22 with me and counsel        for all the parti es and that , on my

23 behalf   she want s to re mind the juror s that my

24 instruction s are to be taken as a whole and no one part

25 to the exclusion o f all other s, but with respect            to the




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 1 specific     question s they have posited         -- the two

 2 alternative s they have posited,         that I believe         the

 3 second    alternative     is the correct       interpretation     of my

 4 instruction s taken as a whole .

 5            MS. JOHNSTON:     T he government 's concern         is on

 6 Page 86 , because       on Page 86 of these instruction s it

 7 says , "F irst a defendant        is accountable     for any

 8 quantity     of drug s which he or she personally

 9 distributed     or possess ed with intent         to distribute ."

10            The second    goes the same way :       "A defendant       is

11 accountable     for any type and quantity          of drug s of which

12 he or she attempt ed or planned         to distribute      or

13 possess ."     It does not encompass          their liability     for

14 drug quantiti es where they aid ed and abet ted someone

15 else 's possession       or --

16            JUDGE CHASANOW :      It says the defendant      is also

17 accountable     for any quantity      of drug s for which another

18 member    of the conspiracy       distributed or     attempt ed to

19 distribute     so long as it was reasonably          for esee able.

20            MR. MONTEMARANO :      It refer s to reasonable

21 foreseeability.

22            JUDGE CHASANOW :      It refer s to Page s 85 through

23 87 .

24            MR. MARTIN:     This seem s to be between       a street

25 version    and a different       approach .     Clear ly , the second




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 1 version    is the perfect     one .

 2            JUDGE TITUS:    I have complete ly advise d the

 3 jury beginning , end and middle          of the deliberation s

 4 during    the consideration     of the case that they are to

 5 make very individual       judgment s of the case and they are

 6 not mak ing a group judgment .          They are to make

 7 individual     assessment s, and I want them to be care ful

 8 and thorough     and fair with respect       to each an d every

 9 defendant .     I think they've       heard that from me loud and

10 clear from the first day to the last day .

11            Counsel , my inclination      is -- we can discuss

12 which form you want to do it in .           Either   have Judge

13 Chasanow    pen a note to go back to the jury sign ed by

14 her on my behalf , or bring them into the courtroom               and ,

15 one way or the other , do what I just          said , which is to

16 indicate    that she has conferred        with me , or I can do it

17 on the phone myself       if you want to do it with the jury

18 in the courtroom , but --

19            MR. MONTEMARANO :    Your Honor , I think a written

20 response    to the jury would be perfect ly fine .

21            JUDGE CHASANOW :    We're going to be able to do it

22 much more quick ly if we do it in writing .            I've draft ed

23 a note sitting     at my desk at my computer         now .   It says ,

24 "M embers of the jury     , you have asked for clarification

25 about determining     the type s and /or quantity       of drug s




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 1 'attributable'     to each defendant        whom you find to be a

 2 member     of the conspiracy .      After consultation     among

 3 Judge Titus     and counsel , we offer the follow ing

 4 guidance .     Please    remember   that you are to consider       all

 5 of the instruction s as a whole and not to isolate             any

 6 portion .     With respect     to your specific    question , the

 7 second     interpretation    set forth in your question       at

 8 Page 3 of 4 is the correct          one .   I have en close d a copy

 9 of your question        with this response ."

10            And then I'll sign it "J udge Chasa now for Judge

11 Titus ."

12            MR. MARTIN:      That 's agreeable .

13            MR. MONTEMARANO :     I'm fine with that , Your

14 Honor .

15            MR. WARD:     Certain ly agreeable     with Ms. Dobie .

16            JUDGE CHASANOW :     I'm not sure I heard from the

17 government .

18            MS. JOHNSTON:      Your Honor , I think we voice d our

19 objections     to that response .      In addition   to that , I

20 would note that on Page 3 of that instruction , they're

21 say ing that each -- "but that we are required to

22 determine     each defendant 's responsibility       for

23 at tributable    type and /or quantity       of drug s based on

24 that individual 's role in the conspiracy ," and they're

25 also suppose d to include        drug s that are reasonably




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 1 for eseeable      to that individual , and that 's not what

 2 their note says .          Their note is very limited        to whether

 3 they should       decide    it based on that individual 's role

 4 in the conspiracy , and then they give you the example

 5 where they mention          if it was not reasonably

 6 for esee able .

 7            To tell them that it 's okay to base it on mere ly

 8 that individual 's role in the conspiracy             I think is an

 9 in correct    statement      in their proposed    No. 2.

10            JUDGE TITUS:       All right .    I have heard the

11 objections     of the government , and I believe           that the

12 response     that I have formulate d and that Judge Chasanow

13 has accurate ly taken down is a correct            one , and I

14 therefore     conclude      that it should   be give n to the jury

15 in writing , unless         any counsel   de sire s having    the jury

16 brought    into the courtroom       to hear the verdict .

17            MR. MONTEMARANO :      In writing    is fine with the

18 defense , Yo ur Honor .        Thank you .

19            MR. WARD:       Thank you , Your Honor .    This    is Peter

20 ward .    I do have a copy of the note .          As soon as I get

21 back to Mr. Montemarano's          office , we will fax cop ies

22 everybody .

23            JUDGE CHASANOW :      We can do that , of course , on

24 behalf    of the court .       It just was not possible        to do

25 that .




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 1           MR. WARD:      Yes , I understand .

 2           JUDGE CHASANOW :     I assume    some of you are on

 3 cell phone s, but I will print out the note as I have

 4 jus t read it to you and give it to Ms. Merez , along

 5 with a copy of the jury 's own note to send in to the

 6 jury room .

 7           MR. MONTEMARANO :     Thank you , Your Honor .

 8           MR. WARD:      Thank you , Your Honor .

 9           Thank you , Judge Titus .

10           JUDGE TITUS:      We will adjourn     for the moment ,

11 and I will    be available     by telephone     if you receive    any

12 further   note s or communication s from        the jury .

13                          (Off the record   at 3:55 p.m. )

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 1                            CERTIFICATE

 2

 3      I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number           RWT -04-0235 on

10 August 1 6, 2006.

11

12      I further certify that the foregoing            18 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17      In witness whereof, I have hereto subscribed my

18 name, this 18th day of March 2008.

19

20

21                                   __________________________

22                                   TRACY RAE DUNLAP, RPR , CRR
                                     OFFICIAL COURT REPORTER
23

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